     Case 4:18-mj-05044-N/A-BGM Document 24 Filed 12/14/18 Page 1 of 2



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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     United States of America,                     No. MJ-18-5044-BGM
10
                         Plaintiff,
11
     v.                                                          ORDER
12
     Ryan Phillip Schlesinger,
13
                         Defendant.
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15          Currently pending before the Court is the Government’s Motion for Court Order to
16   Prevent Pima County Medical Examiner’s Office from Releasing Documents (Doc. 23).
17   The Government seeks an Order preventing Dr. Kevin M. Lougee, or any member of the
18   Pima County Medical Examiner’s Office, from releasing any documents to include
19   release of the official autopsy reports of the decedent in this case for a period of 180 days.
20   See id. The motion is unopposed. See id.
21          In Arizona “[a] public official can withhold inspection by showing that non-
22   disclosure serves confidentiality, privacy or the best interests of the state[.]” Phoenix
23   Newspapers, Inc. v. Keegan, 201 Ariz. 344, 348, 35 P.3d 105, 109 (Ct. App. 2001)
24   (quotations and citations omitted). “This ‘best interests of the state’ standard is not
25   confined to the narrow interest of either the official who holds the records or the agency
26   he or she serves[,] [but also] includes the overall interests of the government and the
27   people.” Id. at 348–49, 35 P.3d at 109–10. “To justify withholding public documents,
28   the State's interest in non-disclosure must outweigh the general policy of open
     Case 4:18-mj-05044-N/A-BGM Document 24 Filed 12/14/18 Page 2 of 2



 1   access.” Id. at 349, 35 P.3d at 110 (quotations and citations omitted).
 2          In light of the ongoing criminal investigation and the necessity of fairness in the
 3   legal process, IT IS HEREBY ORDERED that the Government’s motion (Doc. 23) is
 4   GRANTED. IT IS FURTHER ORDERED that Dr. Kevin M. Loughee, or any other
 5   member of the Pima County Medical Examiner’s Office shall be precluded from
 6   releasing any documents, including release of the official autopsy reports, of the decedent
 7   in this case for a period of 180 days.
 8          Dated this 14th day of December, 2018.
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